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                                                                       Friday, 25 October, 2019 09:59:47 PM
                                                                                Clerk, U.S. District Court, ILCD

042447/19344/PEH/DSF

                          UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

WILLIAM KENT DEAN,

                       Plaintiff,
                                                      Case Number 17-cv-3112
v.
                                                      Judge Sue E. Myerscough
WEXFORD HEALTH SOURCES, INC., DR.
ABDUR NAWOOR and UNKNOWN                              Magistrate Judge Tom Schanzle-Haskins
HEALTHCARE EMPLOYEES,

                       Defendants.

                          MOTION FOR SUMMARY JUDGMENT

       NOW COMES Defendants, DR. ABDUR NAWOOR, DR. REBECCA EINWOHNER,

KATHY GALVIN and WEXFORD HEALTH SOURCES, INC., by and through their attorneys,

CASSIDAY SCHADE LLP, and, pursuant to Federal Rule of Civil Procedure 56 and CDIL-LR

7.1(D), hereby submit their Motion for Summary Judgment, stating as follows:

                                        INTRODUCTION

       On April 12, 2019, Plaintiff, an inmate within the Illinois Department of Corrections

(IDOC) and incarcerated at Taylorville Correctional Center (Taylorville) filed this case under 42

U.S.C. §1983. Doc. 73. Specifically, Plaintiff alleged constitutional and state law claims arising

out of alleged delays in his diagnosis, surgery, and oncological management for renal cell

carcinoma (RCC) at Taylorville. Following adequate time for discovery, no reasonable jury

could find Defendants violated Plaintiff’s Eighth Amendment rights where they appropriately

investigated his complaints, ordered appropriate diagnostic testing, made appropriate specialist

referrals, and deferred to those specialists on the plan of care and the timing of that plan of care.

Plaintiff’s unfounded belief the process should have played out more quickly does not support
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deliberate indifference by any individual Defendant or Wexford.          Moreover, Defendants

Einwohner and Galvin are entitled to summary judgment on Plaintiff’s state-law medical

malpractice claims where Plaintiff has not disclosed appropriate expert testimony to prove

deviation from the standard of care. Finally, Defendant Wexford should be granted summary

judgment on the institutional negligence claim, due to the appropriateness of the care provided

by Dr. Nawoor and the treating subspecialists.

                            UNDISPUTED MATERIAL FACTS

       1.      Plaintiff is an inmate within the IDOC, whose claims arise out of Taylorville.

Doc. 72, par. 6.

       2.      Dr. Nawoor is a physician licensed in Illinois and has been employed by Wexford

as the medical director at Taylorville since December 2015. Exhibit A, deposition of Abdur

Nawoor, pg. 24, 54-55, 66-67.

       3.      Dr. Nawoor’s practice experience is in internal medicine and pulmonology.

Exhibit A, deposition of Abdur Nawoor, pg. 59.

       4.      Dr. Nawoor’s job responsibilities include providing direct patient care to inmates

at Taylorville. Exhibit A, deposition of Abdur Nawoor, pg. 59.

       5.      Dr. Einwohner is a physician licensed to practice medicine in Pennsylvania.

Exhibit B, deposition of Rebecca Einwohner, pg. 87-88.

       6.      Dr. Einwohner is trained and board certified in nephrology, the treatment of

diseases of the kidneys. Exhibit B, deposition of Rebecca Einwohner, pg. 30-31.

       7.      At the relevant time, Dr. Einwohner was a telemedicine physician for Wexford.

Exhibit B, deposition of Rebecca Einwohner, pg. 35.

       8.      Kathy Galvin is a registered nurse in Illinois. Exhibit C, deposition of Kathy

Galvin, pg. 27-28.


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       9.      Ms. Galvin was director of nursing/site manager at Taylorville at the time relevant

to the Complaint. Exhibit C, deposition of Kathy Galvin, pg. 15.

       10.     As director of nursing, Ms. Galvin ensured Wexford and IDOC policies were

followed and supervised 15 nurses, the medical records director, two staff assistants, a dental

assistant, and a mental health assistant. Exhibit C, deposition of Kathy Galvin, pg. 29-30, 32.

       11.     At Taylorville, Ms. Galvin did not provide patient care and was not a diagnosing

entity. Exhibit C, deposition of Kathy Galvin, pg. 36, 58, 90.

       12.     Dr. Nawoor saw Plaintiff on December 23, 2015, for complaints of blood in his

urine (hematuria). Exhibit A, deposition of Abdur Nawoor, pg. 204, 207.

       13.     Dr. Nawoor’s subjective history for the December 23, 2015, encounter says

“chronic recurrent hematuria and history of renal stones. Denies any pain or fever. Had seen

nephrologist three months before that. Had CT of abdomen about a year ago.” Exhibit A,

deposition of Abdur Nawoor, pg. 208.

       14.     On December 23, 2015, Dr. Nawoor physically examined Plaintiff, palpating his

abdomen and kidney, which elicited no pain. Exhibit A, deposition of Abdur Nawoor, pg. 209.

       15.     On December 23, 2015, Dr. Nawoor assessed Plaintiff as having hematuria most

likely from stones. Exhibit A, deposition of Abdur Nawoor, pg. 209-211.

       16.     The assessment was made by considering both the presentation and physical

findings. Exhibit A, deposition of Abdur Nawoor, pg. 210.

       17.     Dr. Nawoor believed Plaintiff’s December 2015 hematuria was most likely due to

a kidney stone, given his history of stones. Exhibit A, deposition of Abdur Nawoor, pg. 210-11.




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        18.      On December 23, 2015, Dr. Nawoor ordered a complete blood count to look for

infection or anemia due to blood loss, urine dipstick, and urine strain to look for stones, with

encouragement to increase fluids. Exhibit A, deposition of Abdur Nawoor, pg. 211-12.

        19.      The urine dipstick confirmed blood in the urine. Exhibit A, deposition of Abdur

Nawoor, pg. 213.

        20.      The urine strain is done to see if the patient is passing stones through the urine.

Exhibit A, deposition of Abdur Nawoor, pg. 213-14.

        21.      Plaintiff refused the urine strain. Exhibit A, deposition of Abdur Nawoor, pg.

214.

        22.      Dr. Nawoor encouraged increased fluids to flush the kidneys if Plaintiff had a

kidney stone. Exhibit A, deposition of Abdur Nawoor, pg. 214.

        23.      Plaintiff had a history of kidney stones with lithotripsy procedure.1 Exhibit A,

deposition of Abdur Nawoor, pg. 215-16; Exhibit D, deposition of Nivedita Dhar, pg. 72; Exhibit

A, Plaintiff’s medical records, Bates 817, 838-39.

        24.      Plaintiff had most recently undergone CAT scans of his abdomen/pelvis in

August 2014 and July 2015. Exhibit E, Plaintiff’s medical records, Bates 437-38, 838-39, 1272-

73.

        25.      Those tests revealed no abnormalities, other than kidney stones.                      Exhibit E,

Plaintiff’s medical records, Bates 437-38.

        26.      On January 7, 2016, Dr. Einwohner saw Plaintiff in the renal teleclinic for follow-

up consultation Exhibit B, deposition of Rebecca Einwohner, pg. 207-209.




1
 Lithotripsy is a procedure to destroy kidney stones using sound waves. Exhibit F, deposition of Stephen Ritz, pg.
115.


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       27.     As of the time she saw Plaintiff on January 7, 2016, Dr. Einwohner was aware

Plaintiff’s medical history included lithotripsy and kidney stones. Exhibit B, deposition of

Rebecca Einwohner, pg. 213-14, 224.

       28.     On January 7, 2016, Plaintiff complained of a history of painless hematuria for

five days that resolved. Exhibit B, deposition of Rebecca Einwohner, pg. 215-17.

       29.     Dr. Einwohner’s note for January 7, 2016, states her plan was “to discuss with

collegial for evaluation of hematuria.” Exhibit B, deposition of Rebecca Einwohner, pg. 224.

       30.     On January 7, 2016, Dr. Einwohner emailed to Dr. Ritz, the Wexford physician

that does utilization management collegial reviews for Illinois prisons, that read:




Exhibit 7 to Exhibit B, deposition of Rebecca Einwohner, pg. 227; Exhibit F, deposition of

Stephen Ritz, pg. 66.



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       31.     The purpose of Dr. Einwohner’s January 7, 2016, email to Dr. Ritz was to

generate a collegial review with Dr. Nawoor about Plaintiff’s symptoms. Exhibit B, deposition

of Rebecca Einwohner, pg. 233-34.

       32.     On January 13, 2016, Dr. Nawoor and Dr. Ritz of Wexford discussed Plaintiff in

collegial review and determined to get a renal ultrasound. Exhibit A, deposition of Abdur

Nawoor, pg. 228-29.

       33.     Collegial review is a·process Wexford utilizes to allow·doctor-to-doctor

discussion of referrals for off-site services in the course of managing a patient’s care. Exhibit A,

deposition of Abdur Nawoor, pg. 237-38; Exhibit F, 30(b)(6) deposition of Stephen Ritz, pg. 10,

22; Exhibit G, deposition of Stephen Ritz, pg. 51.

       34.     Collegial reviews are held weekly between a site physician and Wexford

Utilization Management. Exhibit F, 30(b)(6) deposition of Stephen Ritz, pg. 23.

       35.     Utilization management is a review of requests for medical services,

pharmacological services, imaging services, all medically-related service for medical necessity

and clinical appropriateness. Exhibit F, 30(b)(6) deposition of Stephen Ritz, pg. 7.

       36.     Wexford uses a utilization management process because its contract with the

IDOC requires Wexford to ensure resources are used in a medically necessary and clinically

appropriate manner.     Exhibit F, 30(b)(6) deposition of Stephen Ritz, pg. 7-8; Exhibit G,

deposition of Stephen Ritz, pg. 53.

       37.     The result of a collegial review will be approval of a proposed plan of care, non-

approval and an alternative treatment plan, or a request for additional information. Exhibit F,

30(b)(6) deposition of Stephen Ritz, pg. 50.




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       38.      Dr. Nawoor and Dr. Ritz decided to do ultrasound as an initial test based on the

Plaintiff’s history of lithotripsies to look for kidney stones or something in the ureter or bladder.

Exhibit A, deposition of Abdur Nawoor, pg. 216; Exhibit G, deposition of Stephen Ritz, pg. 68-

69.

       39.      Blood in the urine is a common presentation of kidney stones.            Exhibit G,

deposition of Stephen Ritz, pg. 116.

       40.      Plaintiff’s history of kidney stones puts him at higher risk for development of

stones compared to people without a history of stone formation. Exhibit H, deposition of Bruce

Barnett, pg. 115.

       41.      Ultrasound is a diagnostic procedure done by an outside radiologist who visits

Taylorville approximately once per month to perform the tests on offenders for whom it has been

ordered. Exhibit A, deposition of Abdur Nawoor, pg. 177, 179; Exhibit G, deposition of Stephen

Ritz, pg. 69.

       42.      CT with contrast carries higher risk than an ultrasound because of the exposure to

radiation and contrast dye. Exhibit H, deposition of Bruce Barnett, pg. 121.

       43.      The risks associated with exposure to contrast dye in CT with contrast are higher

for a patient with decreased renal function. Exhibit H, deposition of Bruce Barnett, pg. 121.

       44.      Plaintiff had decreased renal function from kidney disease. Exhibit H, deposition

of Bruce Barnett, pg. 114-15.

       45.      Ultrasound is a low-risk and non-invasive test that uses sound waves, not

radiation, and can be done at the prison. Exhibit G, deposition of Stephen Ritz, pg. 77-78;

Exhibit H, deposition of Bruce Barnett, pg. 77-78.




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           46.      Whether an ultrasound is an appropriate step in the workup for hematuria is a

matter of clinical judgment. Exhibit I, deposition of Adam Metwalli, pg. 58-59; Exhibit D,

deposition of Nivedita Dhar, pg. 62 (ultrasound is appropriate if you do not have enough

evidence or order CT).

           47.      Ultrasound is probative of kidney stones. Exhibit G, deposition of Stephen Ritz,

pg. 1162; Exhibit H, deposition of Bruce Barnett, pg. 122-123.

           48.      The ultrasound was an appropriate part of the workup of Plaintiff’s hematuria.

Exhibit H, deposition of Bruce Barnett, pg. 127-28.

           49.      The performing radiologist reads the results of the ultrasound.       Exhibit A,

deposition of Abdur Nawoor, pg. 179.

           50.      The medical records director will schedule an ultrasound by calling the facility

that performs ultrasounds and making an appointment. Exhibit C, deposition of Kathy Galvin,

pg. 60-61, 78.

           51.      The targeted completion date for an ultrasound by an outside vendor is six weeks

or less. Exhibit G, deposition of Stephen Ritz, pg. 71.

           52.      After approval of a service through collegial review, the medical records director

at Taylorville receives correspondence that contains an authorization number for the approved

service and he then consults a list of providers to request the service. Exhibit J, deposition of

Chad Christer, pg. 15-16.

           53.      Plaintiff underwent a renal and bladder ultrasound on February 2, 2016. Exhibit

A, deposition of Abdur Nawoor, pg. 254.




2
    The reporter transcribed “prohibitive,” rather than “probative.”


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       54.      The interpreting radiologist reviewed the renal bladder ultrasound and reported

“no mass lesions or evidence of hydronephrosis as to the right kidney.” Exhibit A, deposition of

Abdur Nawoor, pg. 262; Exhibit E, Plaintiff’s Medical Records, Bates 1680.

       55.      “No mass lesions” in the right kidney means the interpreting radiologist saw no

abnormality in the kidney suggesting a tumor. Exhibit A, deposition of Abdur Nawoor, pg. 262-

63; Exhibit G, deposition of Stephen Ritz, pg. 83-84.

       56.      “No evidence of hydronephrosis” in the right kidney meant there was no evidence

of dilation of the kidney suggestive of obstruction in the ureters. Exhibit A, deposition of Abdur

Nawoor, pg. 264; Exhibit G, deposition of Stephen Ritz, pg. 83-84.

       57.      The interpreting radiologist misread the ultrasound, and failed to recognize a

diffuse infiltrative process in the right kidney. Exhibit C, deposition of Nivedita Dhar, pg. 99;

Exhibit K, deposition of Michael Racenstein, pg. 48-48.

       58.      The ultrasound was inconclusive as to kidney stones. Exhibit A, deposition of

Abdur Nawoor, pg. 265-66.

       59.      On February 8, 2016, Dr. Einwohner saw Plaintiff in renal teleclinic. Exhibit B,

deposition of Rebecca Einwohner, pg. 235 and Exhibit 8 to Einwohner deposition.

       60.      On February 8, 2016, Plaintiff reported he had no hematuria since January 16,

2016, but that today he noticed a slight pink tinge after passing a dark piece the day before.

Exhibit B, deposition of Rebecca Einwohner, pg. 241, 247, 251.

       61.      On February 8, 2016, Dr. Einwohner noted a renal ultrasound had been done since

her last visit and showed no mass or renal calculi. Exhibit B, deposition of Rebecca Einwohner,

pg. 236, 240.




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       62.    On February 8, 2016, Dr. Einwohner questioned whether Plaintiff had passed a

kidney stone due to faint pink urine with no stone on the ultrasound but noted stones were likely

to reoccur. Exhibit B, deposition of Rebecca Einwohner, pg. 249.

       63.    Dr. Einwohner wrote on February 8, 2016, to do a microscopic urinalysis to see if

the hematuria has resolved, to present the case for collegial, and to continue the stone

prophylaxis. Exhibit B, deposition of Rebecca Einwohner, pg. 249, 251-52.

       64.    Dr. Nawoor saw Plaintiff on February 10, 2016, following Plaintiff’s ultrasound.

Exhibit A, deposition of Abdur Nawoor, pg. 271.

       65.    On February 10, 2016, Dr. Nawoor’s note says in the subjective portion “History

of intermittent hematuria, and the urine positive for blood, and was ordered by nephrologist,

which is Einwohner.· No pain. We stopped his aspirin.· And the finding on exam was basically

no pain -- no pain.” Exhibit A, deposition of Abdur Nawoor, pg. 272.

       66.    On February 10, 2016, Dr. Nawoor’s note says in the objective portion “normal

rhythm, meaning heart rhythm, lungs clear, no swelling [edema], and the GI there's no mass

found, no tenderness, no loin tenderness over the *** kidney.” Exhibit A, deposition of Abdur

Nawoor, pg. 275.

       67.    On February 10, 2016, Dr. Nawoor assessed Plaintiff as having “hematuria cause

undetermined.” Exhibit A, deposition of Abdur Nawoor, pg. 276.

       68.    Dr. Nawoor contacted Dr. Ritz at collegial on February 10, 2016, because he was

concerned about Plaintiff’s symptoms. Exhibit A, deposition of Abdur Nawoor, pg. 276.

       69.    Because of the unremarkable ultrasound, Dr. Nawoor wanted to investigate other

causes of the hematuria in the ureters, bladder, or kidneys. Exhibit A, deposition of Abdur

Nawoor, pg. 244.




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       70.     On February 10, 2016, Dr. Nawoor and Dr. Ritz determined Plaintiff needed

further workup in the form of a cystoscopy and urology referral to discover where the blood was

coming from---bladder, ureter, or kidney. Exhibit A, deposition of Abdur Nawoor, pg. 276-78;

Exhibit G, deposition of Stephen Ritz, pg. 80.

       71.     The purpose of the urology referral was for an urologist to look at Plaintiff’s

kidneys, ureters, and bladder for a possible cause of hematuria. Exhibit A, deposition of Abdur

Nawoor, pg. 278.

       72.     On February 10, 2016, Plaintiff was not symptomatic, hypotensive, or otherwise

presenting with emergency symptoms that required referral to the emergency department.

Exhibit A, deposition of Abdur Nawoor, pg. 277.

       73.     On February 10, 2016, Dr. Einwohner followed up with the utilization

management nurse and was informed Plaintiff had been reviewed in collegial and was scheduled

to go to urology. Exhibit B, deposition of Rebecca Einwohner, pg. 254.

       74.     Plaintiff’s blood counts were checked on February 16, 2016, and February 26,

2016. Exhibit E, Plaintiff’s Medical Records, Bates 1503, 1505.

       75.     Plaintiff was slightly anemic but not severely. Exhibit H, deposition of Bruce

Barnett, pg. 139.

       76.     Plaintiff remained hemodynamically stable and without urinary drainage problem.

Exhibit D, deposition of Nivedita Dhar, pg. 87-88.

       77.     Plaintiff saw urologist Dr. Severino on March 10, 2016. Exhibit A, deposition of

Abdur Nawoor, pg. 278.

       78.     Plaintiff remained hemodynamically stable during the relevant time. Exhibit H,

deposition of Bruce Barnett, pg. 141-42




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        79.    After an appointment is approved, the medical records director at the prison

contacts a specialist to schedule the appointment. Exhibit A, deposition of Abdur Nawoor, pg.

283.

        80.    The medical record for February 25, 2016, reflects a plan for Dr. Nawoor “to

speak to urologist 2/26/15 to possibly move up appt for cystoscopy.” Exhibit E, Plaintiff’s

Medical Records, Bates 1349.

        81.    Springfield Clinic’s records for March 1, 2016, indicate Dr. Nawoor called

“requesting to see if pt can be seen sooner-pt has bleeding every day-please call ***.” Exhibit 1

to Exhibit L, deposition of William Severino, pg. 119.

        82.    Springfield Clinic’s records reflect a note for March 1, 2016, that states “TASK

REASSIGNED” Previously assigned to Roszhart Nurse Staff Can Dr. Severino see next time in

Taylorville? Dr. Roszhart not back until 3/15/16.” Exhibit 1 to Exhibit L, deposition of William

Severino, pg. 119.

        83.    Dr. Severino is an urologist practicing at Springfield Clinic in Springfield,

Illinois. Exhibit L, deposition of William Severino, pg. 6.

        84.    Urology is a medical and surgical subspecialty focusing on the urinary tract from

the kidneys to the urethra. Exhibit L, deposition of William Severino, pg. 6-7.

        85.    On March 1, 2016, Dr. Severino noted that he would have time to see Plaintiff on

March 10, 2016. Exhibit 1 to Exhibit L, deposition of William Severino, pg. 119.

        86.    Plaintiff’s urology appointment was scheduled for March 10, 2016. Exhibit 1 to

Exhibit L, deposition of William Severino, pg. 119; Exhibit E, Plaintiff’s Medical Records, pg.

1354;




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        87.    Plaintiff saw Dr. Severino on March 10, 2016. Exhibit A, deposition of Abdur

Nawoor, pg. 280; Exhibit L, deposition of William Severino, pg.15.

        88.    On March 10, 2016, Dr. Severino’s plan of care for Plaintiff was to begin with a

CT scan, see Plaintiff back, and then proceed with a cystoscopy, if necessary. Exhibit L,

deposition of William Severino, pg. 17.

        89.    Dr. Severino did not order the CT on an expedited basis. Exhibit H, deposition of

Bruce Barnett, pg. 135.

        90.    Dr. Nawoor approved Dr. Severino’s plan on March 14, 2016.            Exhibit E,

Plaintiff’s medical records, Bates 1076.

        91.    Dr. Nawoor and Wexford’s Utilization Management Department approved

Plaintiff’s cystoscopy on or about March 22, 2016, and his CT IVP on or about March 30, 2016.

Exhibit G, deposition of Stephen Ritz, pg. 87-88 and exhibit 11 to Ritz deposition, which is

duplicative of Exhibit E, Bates 1081, 1084; Exhibit E, Plaintiff’s medical records, Bates 1081,

1084.

        92.    On March 28, 2016, Plaintiff’s CT was scheduled for April 12, 2016. Exhibit 1 to

Exhibit L, deposition of William Severino, pg. 116.

        93.    On March 30, 2016, Dr. Einwohner saw Plaintiff for renal teleclinic. Exhibit B,

deposition of Rebecca Einwohner, pg. 257.

        94.    On March 30, 2016, Dr. Einwohner noted that since her last teleclinic, Plaintiff

had seen an urologist and was to undergo diagnostic testing (CT IVP and cystoscopy) in April.

Exhibit B, deposition of Rebecca Einwohner, pg. 258-60.

        95.    Dr. Nawoor called Dr. Severino on April 1, 2016, to request an expedited

appointment. Exhibit A, deposition of Abdur Nawoor, pg. 289.




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       96.     Plaintiff underwent a CT of the abdomen and pelvis on April 12, 2016. Exhibit

A, deposition of Abdur Nawoor, pg. 283.

       97.     One month to complete a CT does not fall below the standard of care. Exhibit H,

deposition of Bruce Barnett, pg. 136-37.

       98.     Dr. Severino saw Plaintiff for a follow-up appointment on April 14, 2016.

Exhibit L, deposition of William Severino, pg. 17.

       99.     The CT showed cancer in the right kidney with potential invasion of the vena

cava, which is the main vein of the entire body that drains blood back to the heart. Exhibit L,

deposition of William Severino, pg. 18-19.

       100.    As of April 14, 2016, Dr. Severino planned to consult with a vascular surgeon and

coordinate with the vascular surgeon to perform surgery on Plaintiff for a right renal mass with a

vena cava thrombosis. Exhibit 1 to Exhibit L, deposition of William Severino, pg. 109.

       101.    Dr. Severino requested a chest X-ray on Plaintiff.        Exhibit L, deposition of

William Severino, pg. 21.

       102.    Dr. Severino wanted a vascular surgeon to review the CT film to see if he could

determine how high the tumor thrombus had gone up the IVC. Exhibit 1 to Exhibit L, deposition

of William Severino, pg. 106.

       103.    Plaintiff’s medical records at Taylorville reflect that on April 14, 2016, the prison

received a telephone call from Dr. Severino, who stated “situation non-emergent. Not usual for

pt to throw embolis. IM may need rt nephrectomy, needs MRI to determine extent of problem

but has pacemaker so unable to do this. Plans are being set into motion for procedure. May need

vascular surg to assist [with] procedure depends on size of thrombus and where it is situated.”

Exhibit E, Plaintiff’s medical records, Bates 1361.




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       104.    Plaintiff’s medical records at Taylorville reflect that on April 14, 2016, the

information Dr. Severino conveyed to the nurse about Plaintiff’s situation being non-emergent

was conveyed to Dr. Nawoor. Exhibit E, Plaintiff’s medical records, Bates 1361.

       105.    Plaintiff underwent a chest X-ray at Taylorville on April 22, 2016. Exhibit E,

Plaintiff’s medical records, Bates 1364.

       106.    Dr. Nawoor participated in a collegial review on April 21, 2016, at which right

renal nephrectomy surgery was approved for the mass in Plaintiff’s kidney/IVC.        Exhibit A,

deposition of Abdur Nawoor, pg. 291-292; Exhibit G, deposition of Stephen Ritz, pg. 91-92 and

Exhibit 13 to Ritz deposition, which is also Exhibit E, Bates 1085.

       107.    After approval of the surgery through collegial review, Chad Christer,

Taylorville’s medical records director, contacted Dr. Severino’s office to schedule the surgery.

Exhibit J, deposition of Chad Christer, pg. 37, 39.

       108.    On May 5, 2016, Dr. Nawoor participated in a collegial review at which Plaintiff

was approved for a cardiology consultation to have Plaintiff’s heart checked before undergoing a

major operation. Exhibit A, deposition of Abdur Nawoor, pg. 293; Exhibit L, deposition of

William Severino, pg. 27; Exhibit J, deposition of Chad Christer, pg. 67.

       109.    On May 5, 2016, Springfield Clinic’s records reflect the vascular surgeon opined

the tumor thrombus could extend above the hepatic vein and that it would be advisable to have

the CT film further reviewed. Exhibit 1 to Exhibit L, deposition of William Severino, pg. 102.

       110.    Plaintiff went to Prairie Heart Institute for his cardiac clearance appointment on

May 6, 2016. Exhibit E, Plaintiff’s medical records, Bates 1364.




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       111.    Plaintiff’s surgery was initially scheduled by Dr. Severino for May 11, 2016, but

was postponed by Dr. Severino because he wanted to have cardiac clearance and other specialists

review Plaintiff’s case. Exhibit J, deposition of Chad Christer, pg. 65-66.

       112.    Neither Wexford nor its employees postponed Plaintiff’s renal nephrectomy

surgery. Exhibit J, deposition of Chad Christer, pg. 66.

       113.    On or about May 17, 2016, Ms. Galvin informed Plaintiff’s IDOC counselor in

response to an emergency grievance from Plaintiff dated May 16, 2016, claiming that his surgery

had not been scheduled. Exhibit C, deposition of Kathy Galvin, pg. 133, exhibit 15 to Galvin

deposition.

       114.    The counselor’s May 17, 2016, response to Plaintiff’s grievance was “Per Health

Care Unit DON Galvin surgeon has been contacted to schedule a surgical date. Currently

awaiting a response.” Exhibit C deposition of Kathy Galvin, pg. 133, exhibit 15 to Galvin

deposition.

       115.    Ms. Galvin acquired the information on Plaintiff’s surgery by contacting the

medical records director and conveying the information to the counselor by phone. Exhibit C,

deposition of Kathy Galvin, pg. 135-36.

       116.    Springfield Clinic’s records for May 25, 2016, state “Dr. Nawoor called and

wants to know when procedure is going to be scheduled. He asked as soon as you find out

please call Chad the nurse at T’ville Correctional Center.” Exhibit 1 to Exhibit L, deposition of

William Severino, pg. 102.

       117.    Taylorville’s Medical Records Director called Dr. Severino’s office on May 11,

May 17, and May 23, 2017, about Plaintiff’s surgery to make sure he remained “in the loop” on

Plaintiff’s care. Exhibit J, deposition of Chad Christer, pg. 37-38.




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       118.    Springfield Clinic’s records for June 1, 2016, indicate “Dr. Coakley reviewed the

films and would like the patient to have another CT. Patient needs a CT abd/pelv/chest with IV

and oral contrast and to see Dr. Severino back in the office to review before deciding on

appropriate surgery. Need to call Chad at the prison and let him know so he can get approved

and scheduled.” Exhibit 1 to Exhibit L, deposition of William Severino, pg. 102.

       119.    Plaintiff underwent a CT of the chest/abdomen/pelvis on June 8, 2016. Exhibit L,

deposition of William Severino, pg. 33-34 and Exhibit 2 to Severino deposition.

       120.    On June 9, 2016, Plaintiff saw Dr. Severino at Springfield Clinic. Exhibit L,

deposition of William Severino, pg. 26.

       121.    As of the June 9, 2016, visit and following the second CT, Dr. Severino was

concerned the IVC thrombus had reached above the diaphragm and was close enough to the

heart he should involve a cardiothoracic surgeon to open the chest to access the tumor from

above. Exhibit L, deposition of William Severino, pg. 27.

       122.    Springfield Clinic’s records for June 10, 2016, indicate Dr. Severino wanted to

speak to “either Dr. Hazelrigg or the nurse about [Plaintiff]. Would like to discuss before

making appointment.” Exhibit 1 to Exhibit L, deposition of William Severino, pg. 90.

       123.    Dr. Hazelrigg is a cardiothoracic surgeon. Exhibit L, deposition of William

Severino, pg. 30.

       124.    Springfield Clinic’s records for June 10, 2016, state “info is on Dr. H desk to

review” and “once H reviews films and gives me the OK, then we can start coordinating and

scheduling for surgery.” Exhibit 1 to Exhibit L, deposition of William Severino, pg. 90.

       125.    Springfield Clinic’s records for June 10, 2016, state Dr. Hazelrigg requested to

see Plaintiff. Exhibit 1 to Exhibit L, deposition of William Severino, pg. 90.




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       126.    On or about June 14, 2016, Dr. Nawoor obtained approval in collegial review for

Plaintiff to see Dr. Hazelrigg. Exhibit E, Plaintiff’s medical records, Bates 1127; Exhibit A,

deposition of Abdur Nawoor, pg. 293.

       127.    Springfield Clinic’s records for June 14, 2016, state “I have this patient set up to

see Dr. Hazelrigg on 6/20. After he sees, we can start coordinating surgery dates/times.” Exhibit

1 to Exhibit L, deposition of William Severino, pg. 86.

       128.    Plaintiff saw Dr. Hazelrigg on June 20, 2016. Exhibit A, Plaintiff’s medical

records, Bates 1379.

       129.    On June 23, 2016, Julie, Dr. Severino’s nurse, noted in the Springfield Clinic

medical records she was checking when Plaintiff could be scheduled for surgery and that they

would need to coordinate with Dr. Hazelrigg, Dr. Ryan, and Dr. Severino’s schedules. Exhibit 1

to Exhibit L, deposition of William Severino, pg. 82.

       130.    On June 23, 2016, Springfield Clinic’s records indicate Dr. Hazelrigg’s first date

to participate in Plaintiff’s surgery was July 18, 2016. Exhibit 1 to Exhibit L, deposition of

William Severino, pg. 82.

       131.    On June 23, 2016, Springfield Clinic’s records indicate Dr. Ryan’s first date to

participate in Plaintiff’s surgery was July 19, 2016. Exhibit 1 to Exhibit L, deposition of

William Severino, pg. 82.

       132.    On June 23, 2016, Springfield Clinic’s records reflect Plaintiff’s surgery was

scheduled for July 19, 2016, and that Taylorville was notified. Exhibit 1 to Exhibit L, deposition

of William Severino, pg. 82-83.




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       133.    On June 23, 2016, Springfield Clinic’s records reflect Plaintiff would be

scheduled to see his cardiologist at Prairie Heart 7-10 days prior to the surgery. Exhibit 1 to

Exhibit L, deposition of William Severino, pg. 83.

       134.    On or about June 28, 2016, Dr. Nawoor obtained approval through collegial

review for the pre-operative cardiac clearance and surgery.          Exhibit E, Plaintiff’s medical

records, Bates 1135.

       135.    On July 19, 2016, Plaintiff underwent right radical nephrectomy with IVC

thrombectomy with median sternotomy, cardiopulmonary bypass with deep hypothermic

circulatory arrest. Exhibit 1 to Exhibit L, deposition of William Severino, pg. 14, 39, Exhibit 1

to Severino deposition, Bates 59.

       136.    Dr. Severino described Plaintiff’s nine-hour surgery as the most complicated

urologic surgery that can be done, in that the patient is bled out, their heart is stopped, the patient

is essentially dead with no bleeding, the surgery is performed, and the tumor removed. Exhibit

L, deposition of William Severino, pg. 14, 36.

       137.    Plaintiff’s surgical team consisted of approximately 10 people, including three

surgeons. Exhibit L, deposition of William Severino, pg. 37.

       138.    Dr. Severino saw Plaintiff after surgery on August 11, 2016, and recommended he

be “set up to see oncology.” Exhibit L, deposition of William Severino, pg. 40; Exhibit 1 to

Severino deposition, Bates 11.

       139.    On or about August 18, 2016, Dr. Nawoor obtained approval in collegial review

for Plaintiff to have an oncology evaluation. Exhibit E, Plaintiff’s medical records, Bates 1148;

Exhibit D, deposition of Nivedita Dhar, pg. 111-112.




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         140.   On August 26, 2016, Plaintiff saw an oncologist.        Exhibit D, deposition of

Nivedita Dhar, pg. 112.

         141.   On October 19, 2016, Plaintiff was prescribed the medication Votrient as

treatment for his cancer. Exhibit A, deposition of Abdur Nawoor, pg. 299; Exhibit G, deposition

of Stephen Ritz, pg. 94.

         142.   Dr. Nawoor wrote a prescription for Votrient on October 22, 2016. Exhibit C,

deposition of Kathy Galvin, pg. 162, exhibit 21 to Galvin deposition.

         143.   Plaintiff’s Votrient was approved as a non-formulary medication on November

14, 2016. Exhibit A, deposition of Abdur Nawoor, pg. 299; Exhibit C, deposition of Kathy

Galvin, pg. 147-48; exhibit 21 to Galvin deposition; Exhibit G, deposition of Stephen Ritz, pg.

97-98, 113; Exhibit E, Plaintiff’s medical records, Bates 1678.

         144.   Formulary medications are commonly prescribed medications that require no

review and approval process to be given. Exhibit G, deposition of Stephen Ritz, pg. 94-95.

         145.   Non-formulary medications are those not commonly used that may have high

toxicity, drug interactions, or complications and must go through a pharmacy review process.

Exhibit C, deposition of Kathy Galvin, pg. 159-60; Exhibit G, deposition of Stephen Ritz, pg.

94-95.

         146.   The review process for non-formulary medications looks at medical necessity and

clinical appropriateness of the medications and makes a recommendation on approval or non-

approval. Exhibit G, deposition of Stephen Ritz, pg. 94-95.

         147.   A non-formulary cancer medication would be reviewed for medical necessity and

clinical appropriateness with reference to the National Comprehensive Cancer Network (NCCN)




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guidelines, which are standard guidelines used throughout the country. Exhibit G, deposition of

Stephen Ritz, pg. 95-96.

       148.    The length of the non-formulary review process depends on the availability of the

clinical information, the input and discussion by the pharmacy team, need for additional

information from the site, and need to review the information in the context of guidelines such as

NCCN. Exhibit G, deposition of Stephen Ritz, pg. 97.

       149.    IDOC’s medication formulary does not have chemotherapeutic agents. Exhibit G,

deposition of Stephen Ritz, pg. 110-11.

       150.    Drug formularies are common in managed care systems. Exhibit H, deposition of

Bruce Barnett, pg. 50.

       151.    Plaintiff began taking Votrient on November 18, 2016. Exhibit A, deposition of

Abdur Nawoor, pg. 299-300.

       152.    Ms. Galvin had no knowledge of or involvement in Plaintiff’s prescription for or

receipt of Votrient. Exhibit C, deposition of Kathy Galvin, pg. 147-48, 161-62.

       153.    Plaintiff was prescribed Opdivo on March 2, 2017. Exhibit G, deposition of

Stephen Ritz, pg. 107 and Exhibit 17 to Ritz deposition, which is also Exhibit E, Bates 2058.

       154.    Opdivo is a non-formulary medication required to be approved through the non-

formulary process. Exhibit G, deposition of Stephen Ritz, pg. 108-09.

       155.    Opdivo was approved through the non-formulary process on March 20, 2017.

Exhibit G, deposition of Stephen Ritz, pg. 111.

       156.    Wexford’s Utilization Management Department did not non-approve or prescribe

alternate treatment plans for any requested care for Plaintiff but instead approved everything that

was requested. Exhibit G, deposition of Stephen Ritz, pg. 114.




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                                          ARGUMENT

A.     Summary Judgment Standard

       Under Rule 56(c) of the Federal Rules of Civil Procedure, summary judgment is proper if

there is no genuine issue on any material fact and the moving party is entitled to judgment as a

matter of law. In evaluating a motion for summary judgment, the Court must look beyond the

pleadings and assess the proof to determine whether there is a genuine need for a trial. If

Defendants meet their burden in showing there is no evidence to support Plaintiff’s claim,

Plaintiff must demonstrate by affidavit, depositions, answers to interrogatories, and admissions

on file, there is a genuine issue of material fact for trial. Celotex Corp. v. Catrett, 477 U.S. 317,

324-25 (1986). In determining and evaluating a motion for summary judgment, the Court views

the evidence in the light most favorable to the opposing party and draws all justifiable inferences

in his favor. A mere scintilla of evidence to support Plaintiff’s position cannot create a genuine

issue of material facts. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

B.     No Jury Could Find Defendants Nawoor, Einwohner, or Galvin Unconstitutionally
       Delayed Plaintiff’s Diagnosis, Surgery, and Oncology Treatment as Alleged in
       Counts I-III

       To establish an Eighth Amendment violation by a prison official for failure to provide

adequate medical care, a prisoner “must allege acts or omissions sufficiently harmful to evidence

deliberate indifference to serious medical needs.” Estelle v. Gamble, 429 U.S. 97, 105-106

(1976); see also Palmer v. Franz, 928 F.3d 560, 563 (7th Cir. 2019); Burton v. Downey, 805

F.3d 776, 784 (7th Cir. 2015). To prevail on an Eighth Amendment claim, a plaintiff must show

that the responsible prison officials were deliberately indifferent to his serious medical needs.

See Farmer v. Brennan, 511 U.S. 835, 837 (1994); Dunigan ex rel. Nyman v. Winnebago

County, 165 F.3d 587, 590 (7th Cir. 1999).




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       The plaintiff must first show that the medical condition was objectively real and

sufficiently serious. See Farmer, 511 U.S. at 834, and Wilson v. Seiter, 501 U.S. 294, 298

(1991). Next, plaintiff must show that the state officials subjectively knew of the prisoner’s

sufficiently serious medical needs, and consciously disregarded them. Farmer, 511 U.S. at 837;

see also Walker v. Wexford Health Sources, Inc., 2019 U.S. App. LEXIS 30663 at 19 (7th Cir.

2019) (requiring Plaintiff to show that facts existed so Defendant could infer Plaintiff was in

substantial risk of serious harm and that Defendant “did, in fact, draw that inference”); Petties v.

Carter, 836 F.3d 722, 728 (7th Cir. 2016); Sherrod v. Lingle, 223 F.3d 605, 611 (7th Cir. 2000)

(noting that deliberate indifference required a Defendant to know of and disregard an “excessive

risk to inmate health or safety”). This required showing for deliberate indifference is “something

approaching a total unconcern for [the prisoner’s] welfare in the face of serious risks.” Collins v.

Seeman, 462 F.3d 757, 762 (7th Cir. 2006), quoting Duane v. Lane, 959 F.2d 673, 677 (7th

Cir.1992).

       Showing mere negligence or malpractice will not support a constitutional violation under

the Eighth Amendment. Roe, 631 F.3d at 857. Instead, when assessing claims of deliberate

indifference against a medical professional, the “professional judgment standard” applies. See

generally Johnson v. Doughty, 433 F.3d 1001, 1013 (7th Cir. 2006) (“[A] medical professional's

erroneous treatment decision can lead to deliberate indifference liability if the decision was made

in the absence of professional judgment); Collignon v. Milwaukee County, 163 F.3d 982, 989

(7th Cir. 1998). Put another way, a treatment decision based on professional judgment cannot

evince deliberate indifference because professional judgment “implies a choice of what the

defendant believed to be the best course of treatment.” Zaya v. Sood, 836 F.3d 800, 805 (7th Cir.

2016). A doctor who claims to have exercised professional judgment is effectively asserting that




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he lacked a sufficiently culpable mental state, and if no reasonable jury could discredit that

claim, the doctor is entitled to summary judgment. Zaya, 836 F.3d at 805. On the other hand,

"where evidence exists that the defendant knew better than to make the medical decision he did,

then summary judgment is improper and the claim should be submitted to a jury.” Petties, 836

F.3d at 731.

       1. Dr. Nawoor

       Plaintiff alleges Dr. Nawoor was responsible for a delayed cancer diagnosis, delayed

surgery, and delayed oncologic treatment.         Doc. 72; Exhibit M, Plaintiff’s Answers to

Defendants’ interrogatories No. 1-4. Here, a jury would not have a basis to find Dr. Nawoor

knew of and consciously disregarded Plaintiff’s medical needs. It is important to contextualize

Plaintiff’s history and presentation beginning in December 2015 when he first presented to Dr.

Nawoor. UMF 12-25. When Plaintiff complained of blood in his urine beginning on December

23, 2015, Dr. Nawoor initially believed it was consistent with Plaintiff’s history of kidney stones,

since he had multiple prior procedures done for stones in the recent past. UMF 15-17. This

included CAT scans in 2014 and 2015 that had not shown any masses in the kidneys. UMF 23-

25. Plaintiff’s oncology expert verified renal cell cancer typically grows slowly and he would

have expected it to be present for several years, including during the 2014 and 2015 CT films.

Exhibit I, deposition of Adam Metwalli, pg. 39-40, 42-43. Therefore, Dr. Nawoor was presented

with a patient with gross hematuria, a history of stones with lithotripsy to destroy them, and

urology workup with two CAT scans in the last approximately two years. No studies identified

any suspicious masses, which, based on the normal growth kinetics of kidney cancer, would be

expected to be present. In late 2015 and early 2016 while other causes were not ruled out, stone

recurrence was the most likely clinical entity to explain the hematuria.




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       Dr. Nawoor and Wexford arranged for Plaintiff to have an onsite renal ultrasound, a non-

invasive diagnostic test that uses soundwaves to identify structures in the body. UMF 23, 36.

Plaintiff’s experts suggest a CT with contrast would have been a better choice. See Exhibit D,

deposition of Nivedita Dhar, pg. 72. However, there is no evidence use of an ultrasound was

blatantly inappropriate suggesting the abandonment of medical judgment. Sherrod, 223 F.3d at

619. On the contrary, Plaintiff’s experts, Dr. Metwalli and Dr. Barnett agreed an ultrasound can

be an appropriate part of the workup, with Dr. Metwalli specifically stating it was a matter of

“clinical judgment.” UMF 46.

       Additionally, CT has risks associated with it ultrasound does not, specifically exposure to

radiation and IV contrast. UMF 42. The risk associated with IV contrast is specifically relevant

to Plaintiff, due to his history of kidney disease and decreased renal function. UMF 43-44. The

decision on what diagnostic test to run is a classic example of medical judgment that does not

give rise to an Eighth Amendment claim. See Pyles v. Fahim, 771 F.3d 403, 411 (7th Cir. 2014)

(stating that “[a]n MRI is simply a diagnostic tool, and the decision to forgo diagnostic tests is a

classic example of medical judgment.”), citing Estelle, 429 U.S. at 107.

       Further, following the ultrasound, which was mis-read as unremarkable by the reviewing

radiologist in early February, Dr. Nawoor arranged for a urology consultation for Plaintiff. UMF

54-57, 68-71. Dr. Nawoor testified that although the ultrasound was negative he still had no

explanation for the hematuria and wanted an urologist to explore possible causes in the kidneys,

ureters, and bladder. UMF 68-69. Plaintiff had this urology consultation on March 10, 2016, at

which time Dr. Severino, Plaintiff’s treating urologist, requested to perform a cystoscopy and a

CT of the chest, abdomen, and pelvis. UMF 87-89. Dr. Nawoor approved this testing and the




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CT was done on April 12, 2016, resulting in a diagnosis of renal cancer on or about April 12,

2016. UMF 98-99.

       Eighth Amendment cases alleging a delayed cancer diagnosis require evidence the

defendant “knew better” than to pursue the chosen clinical course. See Whiting v. Wexford, 839

F.3d 658 (7th Cir. 2016). In Duckworth v. Ahmad, 532 F.3d 675 (7th Cir. 2008), the plaintiff

claimed a constitutional violation based on two physicians not immediately ordering a

cystoscopy to rule out bladder cancer when he presented with hematuria. The evidence showed

the first physician didn't suspect cancer and the second physician knew of the cancer risk but

thought that the plaintiff had another condition and pursued a course of treatment consistent with

that diagnosis. Duckworth, 532 F.3d at 680-81. The plaintiff provided expert testimony from an

experienced urologist that cancer should always be ruled out when a patient has blood in his

urine. Duckworth, 532 F.3d at 681. The Seventh Circuit affirmed summary judgment, noting

the expert's testimony showed only "how a reasonable doctor would treat Duckworth's

symptoms, but it [did] not shed any light into [the defendant's] state of mind." Duckworth, 532

F.3d at 681.

       Similarly, in Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 660 (7th Cir. 2016),

a plaintiff alleged deliberate indifference against a prison physician and his employer based on

his cancer going undiagnosed for two months. The Seventh Circuit affirmed summary judgment,

observing finding lack of evidence the doctor “knew better” than to pursue the course of

treatment he did. Whiting, 839 F.3d at 663. The Seventh Circuit noted the defendant physician

considered the possibility of lymphoma but believed the plaintiff had an infection and treated

him for that condition, delaying an invasive and potentially unnecessary biopsy until it was clear

aggressive antibiotic treatment was not working. The Seventh Circuit observed that the decision




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was not so obviously wrong that a layperson could draw the required inference about the doctor's

state of mind without expert testimony. Whiting, 839 F.3d at 663.

       Plaintiff’s standard of care and correctional medical expert agreed the individual steps

taken in Plaintiff’s workup between presentation and cancer diagnosis were clinically

appropriate; it was the timeframe over which they played out with which Plaintiff’s expert took

exception. Exhibit H, deposition of Bruce Barnett, pg. 130-32. Specifically, this exchange

occurred in Dr. Barnett’s deposition:

       Q We agreed the renal ultrasound was not an inappropriate part of this workup;
       correct?
       A Correct.

       Q We agree that a CT IVP and the cystoscopy were an appropriate part of this
       workup?
       A Yes.

        Q We agree that a urology referral was an appropriate part of this workup?
        A Yes.

        Q We agree that a right radial nephrectomy with whatever they did to him was
       an appropriate surgery for Mr. Dean to undergo?
       A Correct.

       Q We agree that referral to oncology was correct?
       A Yes.

       ***

       Q *** And each of those steps that I've just outlined involved some exercise of
       medical decision-making by a medical professional; right?
        A Correct.
        ***
        Q So if we don't disagree that those were all independently appropriate, what
       we do disagree on then is that they weren't done in a time frame that you think
       was reasonable; is that [fair] –
       ***
       THE WITNESS: Yes. Exhibit H, deposition of Bruce Barnett, pg. 130-32.




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       “[I]nexplicable delays in treatment which serves no penological interest can support an

inference of deliberate indifference.” Grieveson v. Anderson, 538 F.3d 763, 779 (7th Cir. 2008)

(guards could be liable for delaying treatment of broken nose for a day and half); Edwards v.

Snyder, 478 F.3d 827, 830-31 (7th Cir. 2007) (a plaintiff who painfully dislocated his finger and

was needlessly denied treatment for two days stated a claim for deliberate indifference). Delays

are common in the prison setting with limited resources, and whether the length of a delay is

tolerable depends on the seriousness of the condition and the ease of providing treatment.

Petties, 836 F.3d at 730, citing Miller v. Campanella, 794 F.3d 878, 880 (7th Cir. 2015) (given

extreme ease of supplying sufferer of gastro-esophageal reflux disease with over-the-counter

pills, failing to do so for two months created fact question over deliberate indifference).

       Here, the purported delays Plaintiff attributes to Defendants are neither inexplicable nor

without penological interest but were necessary steps in a process.           Calling the onset of

symptoms until surgery a “delay” fails to account for the complexity, the intermediate steps

necessary between diagnosis and surgery, and the steps Defendants took to move Plaintiff toward

diagnosis and definitive treatment.

       Dr. Nawoor requested and obtained approval for a renal ultrasound on January 13, 2016.

UMF 32. The approval is then taken by the medical records director, who schedules the test

when the radiologist can do it. UMF 52. Here, the test was done February 2, 2016. UMF 53.

Following the test, on February 10, 2016, Dr. Nawoor called Dr. Ritz at Wexford utilization

management rather than waiting for the regular collegial review. UMF 68. Dr. Ritz and Dr.

Nawoor agreed on February 10, 2016, to send Plaintiff for urology referral. UMF 70. After an

appointment was approved, the medical records director at the prison contacted a specialist to

schedule the appointment.      Exhibit A, deposition of Abdur Nawoor, pg. 283.           Springfield




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Clinic’s records for March 1, 2016, reflect Dr. Nawoor called “requesting to see if pt can be seen

sooner-pt has bleeding every day-please call ***.”        UMF 81.      After Dr. Nawoor’s call,

Springfield Clinic provided a March 10, 2016, appointment date. UMF 8. Following Dr.

Severino’s March 10, 2016, visit with Plaintiff, he requested non-urgent cystoscopy and CT.

UMF 88-89. Dr. Nawoor approved Dr. Severino’s plan on March 14, 2016, and both procedures

were approved through utilization management. UMF 91. On March 28, 2016, the CT was

scheduled for April 12, 2016. UMF 92, 96.

       On April 14, 2016, Dr. Severino determined Plaintiff would need surgical intervention of

a right renal nephrectomy. UMF 99-100. This was accompanied by a telephone call from

Severino documented in Plaintiff’s medical records that the “situation was “non-emergent,” that

plans were being set in motion for the procedure, and that vascular surgery may need to be

involved. UMF 103. Dr. Nawoor and Wexford approved the surgery on April 21, 2016. UMF

106. However, between April 21, 2016, and July 19, 2016, Plaintiff required significant workup

directed by Dr. Severino.    Specifically, given the apparent complexity of the surgery, Dr.

Severino contacted a vascular surgeon to assist with vena caval dissection. UMF 100. On May

5, 2016, the vascular surgeon suggested it would be prudent to have the April CT reviewed by a

preferred radiologist. UMF 109. After reviewing the April CT, the records reflect that on June

1, the radiologist wanted another CT, which was performed on June 8, 2016. UMF 118-19.

       After the second CT and June 9, 2016, office visit, Dr. Severino was concerned the IVC

tumor thrombus was close enough to the atrium of the heart he could not remove it from the

abdomen and would need to come in from above, requiring the involvement of a cardiothoracic

surgeon. UMF 120-21. Springfield Clinic’s records for Springfield Clinic’s records for June

10, 2016, state Dr. Hazelrigg requested to see Plaintiff, which Dr. Nawoor obtained approval for




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on or about June 14, 2016. UMF 125-26. Plaintiff saw Dr. Hazelrigg on June 20, 2016. UMF

128.   Springfield Clinic’s records for June 23, 2016, demonstrate the coordination of the

schedules of Plaintiff’s three surgeons to perform the surgery on July 19, 2016, as the vascular

surgeon’s first available date as of June 23, 2019, was July 19. UMF 129-133.

       When asked about the timeframe between his first visit with Plaintiff on March 10, 2016,

and surgery, Dr. Severino testified:

       Q. You first saw the patient, we agreed, on March 10 of 2016. Isn't that right?
       A. Correct.

       Q. And the cancer diagnosis came along with the CT around April 12th to 14th. Is
       that what we saw?
       A. Correct.

       Q. He had surgery July 19, 2016. Is that right?
       A. Yeah, uh-huh.

       Q. Do you have an opinion on whether this was a reasonable time frame to --
       from when you first saw this patient to do the surgery?
       A. You know, obviously it took a lot of coordinating and stuff. I mean, like I said,
       you’ve got to do this right or you're guaranteed the patient will die on the table. I
       mean, you had multiple physicians' time frames. You know, we had another
       radiologist look at it. You know, there's a lot of coordinating here.

       Q. So is that a yes?
       A. Yeah. I mean, I would argue I would rather have it scheduled correctly than
       have a patient die on the table because you want to try to hurry up, oh, let's just do
       it. Exhibit L, deposition of William Severino, pg. 38-39.

       The Seventh Circuit has consistently said failing to follow a specialist’s advice without

exercising professional judgment can violate the Eighth Amendment. Petties, 836 F.3d at 728-

31; Perez v. Fenoglio, 792 F.3d 768, 777-79 (7th Cir. 2015); Zaya, 836 F.3d 800. However,

since deliberate indifference requires a mental state approaching criminal recklessness (Arnett v.

Webster, 658 F.3d 742, 759 (7th Cir. 2011)), a doctor who refers a patient to a specialist and

relies on the specialist’s treatment recommendations cannot have the required mental state unless




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he knows the specialist’s plan of care is so blatantly inappropriate as to evidence intentional

mistreatment likely to seriously aggravate the prisoner’s condition (Sherrod, 223 F.3d at 619).

       Plaintiff has not disclosed expert testimony that would suggest Dr. Severino’s plan of

care or timeframe for carrying out that plan was blatantly inappropriate. In fact, Plaintiff’s

experts contorted themselves to avoid criticizing Dr. Severino. Plaintiff’s urologic surgeon, the

same sub-specialty as Dr. Severino, testified:

       Q *** Are you critical of Dr. Severino for the time it took from when he decided
       to do the surgery until when he did the surgery?
       A No.
       Q That was a reasonable timeframe to get that patient, Mr. Dean into surgery?
       A The surgery should have been done earlier.
       Q The surgery should have been done earlier by Dr. Severino?
       A This patient had a renal mass, it had to be removed.
       Q Right.
       A And from April 12 to July, that's a significant delay. So the surgery should have
       been done at an earlier time.
       Q Based upon what?
       A Based upon the size of the tumor, the extent of you know, it was already in the
       IVC at that point already an aggressive mass.
       Q But you're not critical of Dr. Severino for that delay?
       A I think my role is to tell you there is a delay. I don't know how that delay
       happened.
       Q Okay, I got you. So all you're saying is April 12 to July 29 is too long.
       A Correct.
       Q I'm sorry, July 19 is too long. But you know don’t know why it took that long.
       A Correct. Exhibit D, deposition of Nivedita Dhar, pg. 81-82.

       Plaintiff’s primary care provider and correctional medicine expert testified:

       Q What is [your opinion as to Dr. Severino’s care in your capacity as a primary
       provider who works with specialists, including urologists?
       A I think Dr. Severino provided care within the standards of care for urology as
       an expert consulting with the primary care providers. Yeah, his care is what I'm
       used to seeing by specialists in that environment typically interacting with
       primary care providers. Exhibit H, deposition of Bruce Barnett, pg. 101.

Dr. Barnett then explained he was not in a position to criticize a urologist specifically on the

timing of the surgery after the diagnosis was made and that he would defer to Dr. Severino and




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that Dr. Nawoor could defer to Dr. Severino “[i]f he's communicating with Dr. Severino about

the timing for the surgery and if Dr. Severino is comfortable with and says this is when the

surgery should be done, then that's up to Dr. Severino.” Exhibit H, deposition of Bruce Barnett,

pg. 104. The record supports that Taylorville staff were involved in scheduling appointments.

Taylorville’s Medical Records Director called Dr. Severino’s office on May 11, May 17, and

May 23, 2017, about scheduling the surgery. UMF 117. Additionally, Springfield Clinic’s

records for May 25, 2016, state “Dr. Nawoor called and wants to know when procedure is going

to be scheduled.” UMF 116.

       Finally, Plaintiff’s third expert, urologic oncologist Dr. Metwalli, also attempted to

absolve Dr. Severino from blame for the alleged delay and instead blame Defendants:

       Q. Are you critical of Dr. Severino for the period of time that elapsed from
       diagnosis to surgery?
       A. I think that it is too long to wait. I think there are a number of people who
       deserve, you know, some scrutiny for that. I do know that having dealt with
       patients who are in the Department of Corrections, getting things done in a timely
       fashion is very difficult and unlike in your normal urologic practice where you
       know the referring doctors well. They're in your community. You know the
       cardiologist who's probably taking care of this guy and you can pick up the phone.
       That kind of accessibility does not exist for someone like Dr. Severino who's not
       actually, you know, within the DOC system, but is, rather, being used as a
       consultant. So I think that while under ordinary circumstances, I might be more
       critical of Dr. Severino, I think in this case, I think the Department of Corrections
       and their system is really where the criticism lies, because it seems to me like this
       should have been done in a more condensed timeframe than it was and the people
       who are responsible for seeing to that are the Department of Corrections doctors.
       (Emphases added). Exhibit I, deposition of Adam Metwalli, pg. 84-85.

When pressed on the factual basis for his belief the surgery was delayed because of Defendants,

Dr. Metwalli could point to nothing specific. Exhibit I, deposition of Adam Metwalli, pg. 89-

104.




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       Cases finding unconstitutional delays involve situations in which the inmate’s issue could

have been easily addressed by the defendant but gratuitously was not. They are not situations of

administrative or bureaucratic difficulties in scheduling the patient for outside treatment or

extensive workups required by treating specialists. See Alvarez v. Wexford Health Sources, 2016

U.S. Dist. Lexis 167747 *18 (N.D. Ill.) (delayed referral for ankle injury did not support delay in

seeing the specialist exacerbated the plaintiff’s injury or unnecessarily prolonged his pain, and

the doctor was not responsible for the delay and may not even have known about it because he

had no responsibility for scheduling the appointment once he made the referral). Harvey, 2015

U.S. Dist. LEXIS 164776, 2015 WL 8329876, at *5; but see Walker, 293 F.3d at 1038

Grieveson, 538 F.3d 763; Edwards v. Snyder, 478 F.3d 827 (7th Cir. 2007); Miller v.

Campanella, 794 F.3d 878 (7th Cir. 2015); Berry v. Peterman, 604 F.3d 435 (7th Cir. 2010) (ease

of referring patient for dental examination made delay possible violation); Arnett v. Webster, 668

F.3d 742 (2011).

       Plaintiff also alleges a constitutional violation based on alleged delays in receiving the

medications Votrient and Opdivo after surgery. Doc. 72, par. 55-62. Specifically, Plaintiff

claims a constitutional violation based on delays of less than a month between prescription and

receipt of Votrient and Opdivo. Id. However, the record developed in discovery shows neither

chemotherapy drug was on IDOC’s medication formulary and had to go through a non-formulary

review process for medical necessity and clinical appropriateness with respect to issues of patient

safety, side effects, toxicity, and review of NCCN guidelines. UMF 141-55. This is not an

inexplicable delay serving no penological interest.

       Moreover, section 1983 is a tort statute, so the defendant must breach a duty owed to the

plaintiff, who must suffer cognizable legal harm. Babcock v. White, 102 F.3d 267, 271 (7th Cir.




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1996). Plaintiff has disclosed no expert testimony that supports harm from a delay in receipt of

Votrient or Opdivo. Dr. Dhar and Dr. Barnett oncological treatment to an oncologist. Exhibit D,

deposition of Nivedita Dhar, pg. 85; Exhibit H, deposition of Bruce Barnett, pg. 131. Plaintiff’s

urologic oncologist offered no opinions on Plaintiff’s cancer medications. See Exhibit N,

Metwalli Rule 26(a)(2) report. Absent expert testimony supporting harm from the alleged delay

in medication, Plaintiff’s claim fails. See Williams v. Liefer, 491 F.3d 710, 716 (7th Cir. 2007).

          Here, plaintiff's Pomplicated condition initially masqueraded as a more benign condition

he had in the past. The diagnosis and preoperative workup were done in conjunction with the

appropriate specialist to manage Plaintiff’s condition. Rather than constituting a delay, the

workup was necessary to ensure Plaintiff the best chance at a successful surgery and systemic

oncologic treatment. Dr. Nawoor is entitled to summary judgment on the Eighth Amendment

claims.

          2. Dr. Einwohner

          Plaintiff also blames Dr Einwohner for alleged delays in diagnosis of cancer, surgery, and

oncologic treatment.      Doc. 72, at Count II; Exhibit M, Plaintiff’s Answers to Defendants’

interrogatories No. 5-7. The evidence has demonstrated Dr. Einwohner was a telemedicine

physician who saw Plaintiff remotely for kidney issues. UMF 5-7. During the time between

when Plaintiff first presented with symptoms on December 23, 2016, and when he saw Dr.

Severino on March 10, 2016, Dr. Einwohner saw Plaintiff twice. At their first encounter on

January 7, 2016, Dr. Einwohner, like Dr. Nawoor, knew Plaintiff’s medical history included

lithotripsy and kidney stones. UMF 26-27. On January 7, 2016, Dr. Einwohner knew Plaintiff

complained to her of a history of painless hematuria for five days that had since resolved. UMF

28. Dr. Einwohner emailed to Wexford’s utilization management physician, Dr. Ritz, telling him




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of her recent visit with Plaintiff and suggesting a collegial review for consideration or re-imaging

and urology consultation.     UMF 30.      The collegial review happened within a week and

ultrasound was planned. UMF 32.

       When Dr. Einwohner saw Plaintiff again on February 8, 2016, Plaintiff reported he had

no hematuria since January 16, 2016, but had noticed a slight pink tinge after passing a dark

piece the day before. UMF 59-60. Dr. Einwohner was aware a renal ultrasound had been done

since her last visit and showed no mass or renal calculi and she considered whether Plaintiff had

recently passed a stone.     UMF 61.      Dr. Einwohner wrote on February 8, 2016, to do a

microscopic urinalysis to see if the hematuria has resolved, to present the case for collegial, and

to continue the stone prophylaxis. UMF 63. Plaintiff’s case was discussed in collegial review on

February 10, 2016, and Plaintiff was approved for urology consultation.            UMF 68.      Dr.

Einwohner verified this after the collegial review and charted it. UMF 73.

       Plaintiff’s prison practices expert initially claimed Dr. Einwohner had failed to suggest a

CT or urology examination to her colleagues. Exhibit H, deposition of Bruce Barnett, pg. 144.

However, when confronted with Dr. Einwohner’s email to Dr. Ritz of January 7, 2016, Barnett

then said Einwohner’s email was not strongly worded enough and failed to generate a collegial

review, which was again wrong. Exhibit H, deposition of Bruce Barnett, pg. 145. Finally, he

claimed Dr. Einwohner was deliberately indifferent because the Wexford system did not allow

her to personally order the CT or urology consultation but required her to have the primary care

team do it. Exhibit H, deposition of Bruce Barnett, pg. 146-47. He agreed a collegial occurred

two days after Dr. Einwohner saw Plaintiff on February 8, 2016, and requested Plaintiff be

presented to collegial. Exhibit H, deposition of Bruce Barnett, pg. 150-51.




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       Barnett’s criticisms are not of constitutional import and do not support deliberate

indifference. Courts look to the totality of an inmate's medical care when considering whether

that care was reckless so as to evidence deliberate indifference to serious medical needs. Beatty

v. Michael, 2019 U.S. App. LEXIS 31681; Petties, 836 F.3d at 728. Here, no jury could find Dr.

Einwohner was criminally reckless to when she referred Plaintiff case to collegial review on the

only two occasions she saw him before his diagnosis and collegial review followed shortly

thereafter on both occasions. This does not constitute ignoring Plaintiff, and no jury could find

otherwise.

       To the extent Plaintiff seeks to hold Dr. Einwohner responsible for delays in scheduling

the surgery and prescribing chemotherapy drugs, no evidence exists she was involved.

Individual liability under § 1983 requires "personal involvement." See Smith v. Bray, 681 F.3d

888, 899 (7th Cir. 2012) ("[I]ndividual liability under § 1983 is appropriate where the 'individual

defendant caused or participated in a constitutional deprivation.'"), quoting Hildebrandt v. Ill.

Dep't of Natural Res., 347 F.3d 1014, 1039 (7th Cir. 2003)).          Dr. Einwohner adopts Dr.

Nawoor’s arguments on issues from after Plaintiff’s diagnosis.

       3. Nurse Galvin

       Plaintiff also blames Nurse Galvin for alleged delays in diagnosis of cancer, surgery, and

oncologic treatment.    Doc. 72, at Count II; Exhibit M, Plaintiff’s Answers to Defendants’

interrogatories No. 8-10. However, Nurse Galvin employed as the director of nursing in an

administrative capacity, supervising administrative staff at Taylorville. She was not involved in

direct patient care. UMF 8-11. Where a patient is under the care of a physician, a nurse

generally may defer to the superior medical training of the physician unless it is apparent the




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physician’s orders will likely harm the patient. Berry v. Peterman, 604 F.3d 435, 443 (7th Cir.

2010); Gosha v. Robinson, 2018 U.S. Dist. LEXIS 176331 * 17-18.

       Here, no question exists Plaintiff was under the care of Dr. Nawoor and Dr. Severino

during the time Plaintiff seeks to hold a supervisory nurse responsible. Nothing in the extensive

fact-pattern of workup, diagnosis, pre-operative clearance, surgery, and post-surgical care

requires Nurse Galvin to intervene in the plan of care to discharge a constitutional duty. As of

April 14, 2016, the medical records specifically reflect Dr. Severino having called Taylorville to

let them know it was not an emergent situation and that plans were in the works. UMF 103. On

or about May 17, 2016, Ms. Galvin informed Plaintiff’s IDOC counselor in response to an

emergency grievance from Plaintiff dated May 16, 2016, claiming that his surgery had not been

scheduled. UMF 113-115. Beyond accurately telling the IDOC correctional counselor on or

about May 17, 2016, that Taylorville was waiting for a surgery date from Dr. Severino, Nurse

Galvin had no direct involvement. Nurse Galvin is entitled to summary judgment.

C.     No Jury Could Find Wexford Deliberately Indifferent as Alleged In Count V

       In Count V of the Complaint, Plaintiff alleges Eighth Amendment liability against

Wexford. Doc. 72 at 24. The law in the Seventh Circuit treats a private corporation performing

governmental functions such as Wexford as a municipality under §1983. Iskander v. Village of

Forest Park, 690 F.2d 126, 128 (7th Cir. 1982). There is no respondeat superior liability for

private corporations under §1983. Shields v. Illinois Department of Corrections, 746 F.3d 782,

789 (7th Cir. 2014). Wexford cannot be liable under §1983 for the misdeeds of employees, as

employees are responsible individually. Lewis v. City of Chicago, 496 F.3d 645, 656 (7th Cir.

2007). Instead, Wexford can only be liable for an unconstitutional policy or practice that




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allegedly caused a constitutional deprivation. Monell, 436 U.S. at 691-92; Palka v. City of

Chicago, 662 F.3d 428, 434 (7th Cir. 2011).

        To establish municipal liability under Monell, a plaintiff must prove three things. First is

the existence of an unconstitutional policy. This can be done by showing either: (a) an express

policy that, when enforced, causes a constitutional deprivation; (b) a widespread practice that,

although not authorized by written law or express policy, is so permanent and well settled as to

constitute a custom or usage with the force of law; or (c) that the constitutional injury was caused

by a person with final decision policymaking authority. J.K.J. v. Polk Cty., 928 F.3d 576, 578

(7th Cir. 2019); Spiegel v. McClintic, 916 F.3d 611, 617 (7th Cir. 2019). Second is that the

municipality is culpable, which means the municipality's policymakers were deliberately

indifferent to a known or obvious risk that a policy or custom would lead to constitutional

violations. Board of Comm'rs of Bryan Cty. v. Brown, 520 U.S. 397, 407 (1997) (citing Canton,

489 U.S. at 388). Third, the municipality's policy must "directly cause[] a deprivation of federal

rights." Id. at 415. In other words, the municipality’s own actions must be the "moving force"

behind plaintiff's injuries. Id. at 404.

        Here, Plaintiff has insufficient evidence to support a jury finding on any element of

Monell liability. First, Plaintiff’s Eighth Amendment claim for denial of care fails as a matter of

law due to the lack of unconstitutional care to Plaintiff over the period alleged, which defeats

Plaintiff’s Monell claim ab initio. See Ray v. Wexford Health Sources, Inc., 706 F.3d 864, 866

(7th Cir. 2013); City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986).

        Second, Plaintiff has no evidence of the existence of an unconstitutional custom, policy,

or practice that directly caused a constitutional violation.          Wexford served contention




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interrogatories on Plaintiff to identify the factual basis for the allegations against it to determine

what evidence would be needed to rebut them. Plaintiff identified:

      Wexford’s policy of responding in a deliberately indifferent fashion to gross hematuria
       for patients over the age of 50, which is an express policy and a widespread practice.
      Wexford’s policy of subjecting outside referrals to the collegial review process, which is
       an express policy and a widespread practice.
      Wexford’s policy of not timely scheduling or holding collegial reviews, which is an
       express policy and a widespread practice.
      Wexford’s policy of not referring patients to off-site care, which is an express policy and
       a widespread practice.
      Wexford’s policy of not timely scheduling off-site medical appointments and procedures,
       which is an express policy and a widespread practice.
      Wexford’s policy of its patients not actually undergoing off-site care in a timely fashion,
       which is an express policy and a widespread practice.
      Wexford’s policy of subjecting cancer medications to the non-formulary review process,
       which is an express policy and widespread practice.
       Wexford’s policy of diffusing responsibility for a patient’s medical care across multiple
       employees, which is an express policy and a widespread practice. Exhibit M, Plaintiff’s
       Answers to Defendants’ interrogatories No. 10.

       Plaintiff has no produced evidence to support the allegedly unconstitutional policies in

the form of a widespread practice that applied to individuals other than him. “There is no clear

consensus as to how frequently [certain conduct] must occur to impose Monell liability, except

that it must be more than one instance, or even three.” Thomas v. Cook County Sheriff’s Dep’t,

604 F.3d 293, 303 (7th Cir. 2006) (internal quotation marks omitted) (citations omitted).          To

properly plead a widespread practice, a plaintiff must plead facts that would show either the

application of a particular policy to many individuals or show many actions directed at a single

individual. Hare v. Cnty. of Kane, 2014WL 7213198, at *3 (N.D. Ill. Dec. 15, 2015).

       The record reasonably explains the alleged deficiencies as they relate to Plaintiff. First,

no evidence supports a widespread practice of ignoring hematuria in patients over 50, let alone a

widespread practice policymakers at Wexford knew of and ignored. No basis even exists to

support Plaintiff’s hematuria was ignored based on his extensive clinical workup. Second, the



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allegation collegial review is facially unconstitutional is not supported.       In fact, Plaintiff’s

correctional medical expert testified California, where he worked, used a very similar utilization

management review process. Exhibit H, deposition of Bruce Barnett, pg. 42-43. Third, there is

no evidence Wexford fails to schedule and hold collegial reviews. Plaintiff had numerous

requests for outside care go through collegial review and all were approved in less than one

month, and most were approved within days. UMF 32, 69, 91, 92, 106, 108, 126, 134.

        Fourth, the record does not support a widespread policy of not referring patients for

offsite care.   Plaintiff’s record is rife with referrals and approvals for outside care.       The

suggestion there is a widespread policy of not sending patients offsite is not supported by

Plaintiff’s course. Fifth, there is absolutely no evidence Plaintiff’s offsite appointments were not

timely scheduled.       The record meticulously details the approvals and scheduling of the

appointments with the outside consultants, and far from demonstrating deliberate indifference

shows high-level coordination between outside consultants and Taylorville. This applies equally

to Plaintiff’s sixth allegation that patients were not seen for offsite care in a timely fashion. The

fact appointments are not instantaneous when out of Wexford’s control is not unconstitutional.

        Seventh, Plaintiff appears to allege the use of a medication formulary for cancer

medications is facially unconstitutional. However, the non-formulary approval process serves

patient safety and ensures the medical necessity and clinical appropriateness of a medication

before it is prescribed. UMF 146; Exhibit H, deposition of Bruce Barnett, pg. 48-52. Dr.

Barnett, Plaintiff’s correctional medical expert, testified California uses a medication formulary,

as do most managed care systems. Exhibit H, deposition of Bruce Barnett, pg. 50-51. Therefore,

the mere fact it was used to process and approve Plaintiff’s medications cannot provide a basis

for Monell liability.




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        Finally,   Plaintiff   claims   diffusing care over   multiple   medical    providers is

unconstitutional. In support, Plaintiff points to the fact Nurse Galvin testified she did not have

responsibility for scheduling appointments and was not an attending nurse.            Exhibit M,

Plaintiff’s Answers to Defendants’ interrogatories No. 12. However, what Plaintiff characterizes

as unconstitutional diffusing of responsibility is actually how efficiency is achieved in a

bureaucracy, as the Seventh Circuit has recognized. See Burks v. Raemisch, 555 F.3d 592, 595

(7th Cir. 2009).

        Plaintiff has failed to raise a genuine issue of material fact he was injured by an

unconstitutional policy of Defendant Wexford and summary judgment must be entered.

D.      Defendants Einwohner, Galvin, and Wexford are Entitled to Summary Judgment
        on Counts VIII, IX, and X for Medical Malpractice

        In Counts VIII, IX, and X, Plaintiff claims Illinois medical malpractice against

Einwohner, Galvin, and Wexford. For this Motion, Defendants address Count X as it relates to

Dr. Nawoor. The elements which must be proved by a plaintiff to establish medical malpractice

are: (1) the standard of care by which the physician's treatment is measured; (2) a deviation from

that standard; and (3) that the deviation proximately caused the plaintiff's injury. Hooper v.

County of Cook, 366 Ill. App. 3d 1, 6, 851 N.E.2d 663 (2006); Ramos v. Pyati, 179 Ill. App. 3d

214, 220-221 (1989). Proof of these elements is made by expert testimony. Ramos, 179 Ill.

App. 3d at 220-221. Federal Rule of Evidence 601 states that “… in a civil case, state law

governs the witness’s competency regarding a claim or defense for which state law supplies the

rule of decision.” Under Illinois law, specifically 735 ILCS § 5/8-2501, a court will determine

whether a proposed expert can give standard of care evidence based on the factors in 735 ILCS §

5/8-2501.




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       Here, Plaintiff has not offered sufficient expert testimony as to the standard of care for a

nephrologist like Dr. Einwohner or a registered nurse like Nurse Galvin. Plaintiff’s correctional

medical expert testified he had never worked as a nephrologist or a nurse. Exhibit H, deposition

of Bruce Barnett, pg. 80. Moreover, as it relates to Dr. Einwohner, as stated above Dr. Barnett

incorrectly believed Dr. Einwohner did not request a CT or urology appointment and had to

acknowledge on both January 7, 2016, and February 8, 2016, Dr. Einwohner requested collegial

reviews done shortly after her encounters. Exhibit H, deposition of Bruce Barnett, pg. 145-151.

         In Sullivan v. Edward Hosp. 209 Ill. 2d 100 (2004), the Illinois Supreme Court outlined

how Illinois’ statutory factors would guide a determination of competency for medical

professionals giving standard of care opinion evidence. “[T]he health-care expert witness must

be a licensed member of the school of medicine about which the expert proposes to testify; and

that the expert must be familiar with the methods, procedures, and treatments ordinarily observed

by other health-care providers in either the defendant's community or a similar community.” Id.

at 114-15 (emphasis added). If the plaintiff cannot satisfy these foundational requirements, “the

trial court must disallow the expert's testimony.” Id. at 115, quoting Purtrill, 111 Ill. 2d at 244.

The Illinois Supreme Court held the doctor in Sullivan could not give standard of care opinion

testimony on the nurse-patient standard of care because he had no nursing license. Id. at 123.

       Here, Plaintiff has disclosed no nursing care expert and purports to have a doctor testify

to the nurse-patient “duty of advocacy” from having worked with and read about nurses. Exhibit

H, deposition of Bruce Barnett, pg. 155-56. This opinion goes squarely to the nurse-patient

relationship and cannot be given by a non-nurse. Without this incompetent testimony, Plaintiff

cannot prove deviation from the standard of care by Nurse Galvin and she must be granted




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summary judgment, as should Wexford to the extent Count X is based on either Dr. Einwohner’s

or Nurse Galvin’s actions.

E.     Defendant Wexford is Entitled to Summary Judgment on Count XI for Institutional
       Negligence

       In Count XI, Plaintiff alleges institutional negligence against Wexford based on

ostensibly the same things upon which Monell liability is predicated. Doc. 72 at 31; Exhibit M,

Plaintiff’s Answers to Defendants’ interrogatories No. 19. A claim of direct negligence "alleges

that the employer was itself negligent." (Emphasis in original.) Vancura v. Katris, 238 Ill. 2d

352, 375, 939 N.E.2d 328, 343 (2010). An employer can be directly liable if the "employer's

breach—not simply the employee's malfeasance—was a proximate cause of the plaintiffs

injury." Id. See also Reynolds v. Jimmy John's Enterprises, LLC, 2013 IL App (4th) 120139, ¶

27, 988 N.E.2d 984, 370 Ill. Dec. 628 (unlike a theory premised on vicarious liability, under

which an employer is liable because of actions taken by its employee, "[a] claim of direct

negligence 'alleges that the employer was itself negligent"') (emphasis in original).

       Defendant Wexford adopts its arguments as to the Monell claim articulated above and

requests summary judgment for institutional negligence.

                                         CONCLUSION

       No genuine issue of material fact exists that would permit a reasonable jury to find

deliberate indifference. Plaintiff’s constitutional claims require evidence Defendants knew better

than to provide the care they did, which is not present on this record. This court should grant

summary judgment on all federal claims and remand any remaining state law claims to the

Fourth Judicial Circuit, Christian County, Illinois. See 28 U.S.C. § 1447(c); Lunsford v. Bennett,

17 F.3d 1574, 1583–84 (7th Cir. 1994) (upholding district court’s decision to decline jurisdiction

over state law claims after granting summary judgment on federal claims



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       WHEREFORE, for the above reasons, DR. ABDUR NAWOOR, DR. REBECCA

EINWOHNER, KATHY GALVIN and WEXFORD HEALTH SOURCES, INC. respectfully

requests this Honorable Court grant their Motion for Summary Judgment and grant such further

relief as deemed appropriate.

                                          Respectfully submitted,

                                          CASSIDAY SCHADE LLP

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                                              NAWOOR, DR. REBECCA EINWOHNER,
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on October 24, 2019, I electronically filed the foregoing Motion for

Summary Judgment with the Clerk of the Court using the CM/ECF system. The electronic case

filing system sent a “Notice of E-Filing” to the following:

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